DOCUMENTS UNDER SEAL
                      Case 3:23-cr-00002-CRB Document 27 Filed 01/13/23 Page 1MIN(S):7
                                                            TOTAL TIME (m ins):
                                                                                of 1
M AGISTRATE JUDGE                        DEPUTY CLERK                            REPORTER/DIGITAL RECORDING:
M INUTE ORDER                           Rose Maher                              Liberty:10:55-11:02
MAGISTRATE JUDGE                         DATE                                    NEW CASE         CASE NUMBER
Thomas S. Hixson                         1/13/2023                                              3:23-cr-00002-CRB
                                                     APPEARANCES
DEFENDANT                                AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                 PD.     RET.
Luis Almicar Erazo Centeno                31       Y       P       John Jordan - CJA Counsel           APPT.
U.S. ATTORNEY                            INTERPRETER                           FIN. AFFT              COUNSEL APPT'D
Nicholas Parker                          Conchita Lozano/Spanish/sworn         SUBMITTED

PROBATION OFFICER            PRETRIAL SERVICES OFFICER             DEF ELIGIBLE FOR            PARTIAL PAYMENT
Melissa Moy                                                        APPT'D COUNSEL              OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                       STATUS
      held                                                                                               TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING          IA REV PROB. or          OTHER
                               On Indictment                                    or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA           PROB. REVOC.             ATTY APPT
                                                                                                         HEARING
                                                     INITIAL APPEARANCE
        ADVISED                 ADVISED                  NAME AS CHARGED           TRUE NAME:
        OF RIGHTS               OF CHARGES               IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON            READING W AIVED            W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT              SUBSTANCE
                                                         RELEASE
      RELEASED           ISSUED                      AMT OF SECURITY      SPECIAL NOTES               PASSPORT
      ON O/R             APPEARANCE BOND             $                                                SURRENDERED
                                                                                                      DATE:
PROPERTY TO BE POSTED                            CORPORATE SECURITY                 REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL                DETAINED        RELEASED      DETENTION HEARING             REMANDED
      FOR              SERVICES                                              AND FORMAL FINDINGS
      DETENTION        REPORT                                                W AIVED w/o prejudice
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
   CONSENT                      NOT GUILTY                GUILTY                  GUILTY TO COUNTS:
   ENTERED                   as to both counts
   PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT          OTHER:
   REPORT ORDERED                                         FILED
                                                       CONTINUANCE
TO:                               ATTY APPT               BOND                 STATUS RE:
1/27/2023-prev. set               HEARING                 HEARING              CONSENT                  TRIAL SET

AT:                               SUBMIT FINAN.           PRELIMINARY          CHANGE OF              STATUS
                                  AFFIDAVIT               HEARING              PLEA
1:00 pm - by zoom                                         _______
BEFORE HON.                       DETENTION               ARRAIGNMENT           MOTIONS                 JUDGMENT &
                                  HEARING                                                               SENTENCING
Judge Breyer
        TIME W AIVED              TIME EXCLUDABLE         IDENTITY /           PRETRIAL                 PROB/SUP REV.
                                  UNDER 18 § USC          REMOVAL              CONFERENCE               HEARING
                                  3161                    HEARING
                                                 ADDITIONAL PROCEEDINGS
DPPA Advised. Govt. moved to exclude time under STA for effec. prep of counsel between:1/13/2023-1/27/2023. Court
ordered time excluded between: 1/13/2023-1/27/2023 for effec. prep.of counsel/STA.

                                                                                     DOCUMENT NUMBER:
